                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:10-CR-00238-RJC
 USA                                             )
                                                 )
    v.                                           )                 ORDER
                                                 )
 MILTON EARL ADAMS                               )
                                                 )



         THIS MATTER is before the Court on the defendant’s pro se motion, (Doc. No. 766), to

seal certain documents in his case, (Doc. Nos. 568, 611, 645, 696, 744, and 748).

         The Court finds the defendant has established a compelling interest to seal Docket

Numbers 568, 744, and 748. In re Time, Inc., et al., 182 F.3d 270, 271-272 (4th Cir. 1999).

Docket Numbers 611, 645, and 696 relate to standard procedural issues which the defendant has

not shown a compelling interest to seal.

         IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 766), is

GRANTED in part and DENIED in part, and Docket Numbers 568, 744, and 748 shall be

SEALED with access to only the defendant and the government pending further order of the

Court.

 Signed: May 2, 2017




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